
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-131-CR





REGINALD DALE PETERS							APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM COUNTY CRIMINAL COURT NO. 8 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “ Motion To Withdraw Appeal” filed by Reginald Dale Peters, pro se. The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	DAUPHINOT, HOLMAN, and GARDNER , JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: May 6, 2004

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




